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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF VIRGINIA
                        BIG STONE GAP DIVISION


 UNITED STATES OF AMERICA                    )
                                             )
                                             )      Case No. 2:18CR00003-002
                                             )
 v.                                          )      OPINION AND ORDER
                                             )
 LEILA VARETTA HECTOR,                       )      JUDGE JAMES P. JONES
                                             )
              Defendant.                     )


       Leila Varetta Hector, Pro Se Defendant.

       The defendant was convicted after a five-day joint jury trial with her husband,

 James Lee Dykes, of conspiracy to distribute or possess with intent to distribute

 controlled substances and distributing or possessing with intent to distribute 50

 grams or more of methamphetamine. She was sentenced on December 19, 2019, to

 121 months imprisonment on each count to run concurrently. She appealed and

 was permitted to remain on bond and conditions of release pending that appeal. The

 judgment of conviction and sentence was affirmed by the court of appeals on

 February 9, 2022. United States v. Hector, Nos. 19-4957, 20-4052, 20-6414, 20-

 6467, 2022 WL 402493 (Feb. 9, 2022),                     (4th Cir. Mar. 15, 2022). The

 defendant thereafter filed the present pro se motion seeking to extend the time to

 report to serve her sentence, or, in the alternative, to reduce her sentence.
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        The defendant clearly has serious health issues, which was the reason that her

 sentence of imprisonment was stayed pending her appeal, Order, Mar. 27, 2020, ECF

 No. 748, and a fact that I acknowledged at her sentencing, Sent. Tr. 26, ECF No.

 690.    Indeed, she has never been incarcerated during the pendency of this

 prosecution except for a brief period in March of 2018 following her arrest.

 However, I do not find it appropriate to continue her on bond or reduce her sentence.

 She was convicted of a serious crime and was accordingly sentenced to a lengthy

 prison sentence. The Bureau of Prisons has medical facilities that are able to treat

 the defendant and the time has arrived that she must begin service of her sentence.

                                                                  5, and her separate

 motions to appoint counsel, ECF Nos. 899, 912, are DENIED.

        It is so ORDERED.

                                                ENTER: May 2, 2022

                                                /s/ JAMES P. JONES
                                                Senior United States District Judge




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